
"Defendant's Motion for Request for Determination Under Rule 34 is Allowed. Plaintiff-Petitioner's Pro Se Petition for Writ of Certiorari is denied pursuant to Rule 34 of the North Carolina Rules of Appellate Procedure as a frivolous filing. Plaintiff-Petitioner is no longer allowed to file pro se in this civil matter before the Court. Any future filing in this matter by Plaintiff-Petitioner which is not accompanied by a certification signed by a licensed North Carolina attorney, who is in good standing with the North Carolina State Bar, verifying Plaintiff-Petitioner's claims are of merit and not frivolous, will not be processed.
Furthermore, pursuant to Rule 34, we remand this matter to Rockingham County for a hearing to determine sanctions, if appropriate. By order of the Court in conference, this the 17th day of August 2006.
